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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

William R. Rongey
                                            Plaintiff,
v.                                                          Case No.: 1:18−cv−04613
                                                            Honorable Jorge L. Alonso
Anselmo Lindberg & Associates LLC
                                            Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 20, 2019:


        MINUTE entry before the Honorable Jeffrey Cummings:The parties' joint motion
to modify discovery deadlines [32] is granted. Fact discovery will close on 4/5/19. Motion
hearing and status hearing scheduled for 2/26/19 are stricken; no appearance is necessary
on that date. Status hearing scheduled for 3/28/19 at 10:00 a.m.(rbf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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